    Case 1:20-mc-00078-RGA Document 19 Filed 06/13/22 Page 1 of 7 PageID #: 785




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                   Chapter 11

BOY SCOUTS OF AMERICA AND                                Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1

                          Debtors.                       Case No. 1:20-mc-00078-RGA

                                                         Re: D.I. 18

                                     DEBTORS’ STATUS REPORT

          Pursuant to this Court’s oral order on December 13, 2021 [D.I. 18] (the “Order”), Boy

Scouts of America (“BSA”) and Delaware BSA, LLC (together with the BSA, the “Debtors”)

hereby submit this status report in the above-captioned case, and state the following:

          1.      On February 18, 2020, the Debtors each filed a voluntary petition for relief under

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States

Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

          2.      Also on February 18, 2020, the Debtors initiated an adversary proceeding (the

“Adversary Proceeding”), Adv. Proc. Case No. 20-50527 (LSS), in the Bankruptcy Court by

filing a Verified Complaint for Injunctive Relief [A.D.I. 1] (the “Adversary Complaint”). In

connection with the Adversary Complaint, the Debtors filed The BSA’s Motion for a Preliminary

Injunction Pursuant to Sections 105(a) and 362 of the Bankruptcy Code [A.D.I. 6] (the

“Preliminary Injunction Motion”), seeking to enjoin certain pending abuse actions against the

BSA and certain related parties.

          3.      On March 30, 2020, the Bankruptcy Court entered the Consent Order Pursuant to

1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
      identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The
      Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
    Case 1:20-mc-00078-RGA Document 19 Filed 06/13/22 Page 2 of 7 PageID #: 786




11 U.S.C. §§ 105(a) and 362 Granting the BSA’s Motion for a Preliminary Injunction [A.D.I.

54] (the “Consent Order”) in the Adversary Proceeding.2 The Consent Order immediately stayed

all Pending Abuse Actions and Further Abuse Actions up to and including May 18, 2020 (as has

been extended from time to time, the “Termination Date”). Consent Order ¶¶ 3, 7. Since March

30, 2020, the Bankruptcy Court has extended the Termination Date under the Consent Order

several times. See A.D.I. 72, 77, 116, 162, 185, 199. Pursuant to the Order Approving Sixth

Stipulation by and Among the Boy Scouts of America, the Official Committee of Survivors of

Abuse, and the Official Committee of Unsecured Creditors Modifying the Consent Order

Granting the BSA’s Motion for a Preliminary Injunction Pursuant to 11 U.S.C. §§ 105(a) and

362 and Further Extending the Termination Date of the Standstill Period [A.D.I. 199] (the

“Order Approving Sixth Stipulation”), the Termination Date has been extended up to and

including the date of the first omnibus hearing after the Bankruptcy Court issues its decision

confirming or denying confirmation of the Debtors’ Plan.                       See Order Approving Sixth

Stipulation ¶ 1.

          4.       While the Preliminary Injunction Motion was pending in the Adversary

Proceeding, the Debtors filed in the United States District Court for the District of Delaware (this

“Court”) the Debtors’ Motion to Fix Venue for Claims Related to the Debtors’ Bankruptcy

Under 28 U.S.C. §§157(b)(5) and 1334(b) [D.I. 2] and accompanying brief [D.I. 4] (together, the

“Transfer Motion”). The Transfer Motion sought to centralize the Pending Abuse Claims in this

Court to facilitate the negotiation and confirmation of a consensual plan of reorganization.

          5.       The Debtors also filed in this Court the Debtors’ Motion to Stay Briefing on Their


2
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
      Consent Order or the Plan (as defined herein), as applicable.




                                                         2
Case 1:20-mc-00078-RGA Document 19 Filed 06/13/22 Page 3 of 7 PageID #: 787




Motion to Fix Venue for Claims Related to Bankruptcy Under 28 U.S.C. §§ 157(b)(6) and

1334(b) [D.I. 8] (the “Stay Motion”), requesting, in part, that this Court stay all briefing related

to the Transfer Motion to permit the parties involved in the bankruptcy proceeding to negotiate

and formulate a consensual chapter 11 plan. This Court granted the relief requested in the Stay

Motion. D.I. 16.

       6.      On December 13, 2021, this Court entered the Order, directing the Debtors to

“file a status report with the Court six months from the date of this Order and every six months

thereafter until the case is reopened.” See D.I. 18.

       7.      On February 15, 2022, the Debtors filed the Third Modified Fifth Amended

Chapter 11 Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC

[D.I. 8816] (as subsequently amended and superseded by the Plan (as defined below)). The Plan

is the product of more than two years of continuous negotiations and mediation with every major

constituency in the chapter 11 cases. The Plan contains a series of comprehensive settlements

and compromises, which are the product of the Debtors’ and certain stakeholders’ good-faith

efforts to achieve the consensual resolution of disputed issues in the bankruptcy cases. These

parties include (i) the Debtors’ primary prepetition lender, JPMorgan Chase Bank, N.A., (ii) the

Creditors’ Committee, as the official committee appointed by the Bankruptcy Court to act as a

fiduciary for unsecured creditors, (iii) an ad hoc committee of the Debtors’ local councils,

(iv) the Debtors’ largest current and former chartered organizations, including the Church of

Jesus Christ of Latter-Day Saints, the ad hoc committee of United Methodist entities, and the ad

hoc committee of Roman Catholic entities, (v) multiple settling insurance companies, including

the Century and Chubb Companies, Hartford, Zurich Insurers and Zurich Affiliated Insurers, and

Clarendon, (vi) the Tort Claimants’ Committee, the official committee of tort claimants



                                                 3
Case 1:20-mc-00078-RGA Document 19 Filed 06/13/22 Page 4 of 7 PageID #: 788




appointed by the Bankruptcy Court to act as a fiduciary for all sexual abuse survivors, (vii) the

Future Claimants’ Representative, as the fiduciary appointed by the Bankruptcy Court to

represent the interests of future sexual abuse claimants, (viii) the Coalition of Abused Scouts for

Justice, an ad hoc committee of thousands of sexual abuse survivors, and (ix) certain state court

counsel representing a supermajority of abuse survivors who collectively represent

approximately 60,000 of the 82,000 sexual abuse claimants (collectively, the “Settling Parties”).

The central creditor constituencies affected by the Plan—sexual abuse survivors and indirect

abuse claimants—voted to approve the Plan by more than 85% and 82%, respectively, in

addition to all of the other classes that voted to accept the Plan. Thus, the Plan carries the

overwhelming support of every major creditor group.

       8.      If confirmed, the Plan will create the largest sexual abuse compensation fund in

the history of the United States (the “Settlement Trust,” as defined and described in the Plan).

The Settlement Trust will be comprised of more than $2.7 billion in cash and property from the

BSA and the Settling Parties, as well as valuable rights to pursue additional recoveries against

those parties that have not yet settled. If the Plan is confirmed, the Settlement Trust will process

and pay the Abuse Claims pursuant to the Trust Distribution Procedures described in and

incorporated as an exhibit to the Plan.

       9.      Beginning on March 14, 2022, the Court held an evidentiary hearing to consider

confirmation of the Plan (the “Confirmation Hearing”). The Confirmation Hearing spanned 23

days and included live testimony from 16 fact witnesses and 12 expert witnesses.                The

Confirmation Hearing concluded on April 14, 2022. At the conclusion of the Confirmation

Hearing, the Bankruptcy Court took confirmation of the Plan under advisement.




                                                 4
Case 1:20-mc-00078-RGA Document 19 Filed 06/13/22 Page 5 of 7 PageID #: 789




       10.     On April 22, 2022, the Debtors filed the Third Modified Fifth Amended Chapter

11 Plan of Reorganization (With Technical Modifications) for Boy Scouts of America and

Delaware BSA, LLC [D.I. 9696] (the “Plan”) to reflect certain technical modifications and

clarifications as well as incorporate certain resolutions addressing various objections raised at the

Confirmation Hearing.

       11.     As of the date hereof, the Bankruptcy Court has not issued a decision regarding

confirmation of the Plan.

       12.     The Debtors will submit a further status report on or before the next deadline, as

necessary. Counsel is available at the convenience of the Court to answer any questions.

                            [Remainder of Page Intentionally Left Blank]




                                                 5
Case 1:20-mc-00078-RGA Document 19 Filed 06/13/22 Page 6 of 7 PageID #: 790




Dated: June 13, 2022          MORRIS, NICHOLS, ARSHT & TUNNELL LLP
       Wilmington, Delaware
                              /s/ Tori L. Remington
                              Derek C. Abbott (No. 3376)
                              Andrew R. Remming (No. 5120)
                              Paige N. Topper (No. 6470)
                              Tori L. Remington (No. 6901)
                              1201 North Market Street, 16th Floor
                              P.O. Box 1347
                              Wilmington, Delaware 19899-1347
                              Telephone: (302) 658-9200
                              Email: dabbott@morrisnichols.com
                                      aremming@morrisnichols.com
                                      ptopper@morrisnichols.com
                                      tremington@morrisnichols.com

                              – and –

                              WHITE & CASE LLP
                              Jessica C. Lauria (admitted pro hac vice)
                              1221 Avenue of the Americas
                              New York, New York 10020
                              Telephone: (212) 819-8200
                              Email: jessica.lauria@whitecase.com

                              – and –

                              WHITE & CASE LLP
                              Michael C. Andolina (admitted pro hac vice)
                              Matthew E. Linder (admitted pro hac vice)
                              Laura E. Baccash (admitted pro hac vice)
                              Blair M. Warner (admitted pro hac vice)
                              111 South Wacker Drive
                              Chicago, Illinois 60606
                              Telephone: (312) 881-5400
                              Email: mandolina@whitecase.com
                                     mlinder@whitecase.com
                                     laura.baccash@whitecase.com
                                     blair.warner@whitecase.com

                              ATTORNEYS FOR BOY SCOUTS OF AMERICA
                              AND DELAWARE BSA, LLC
Case 1:20-mc-00078-RGA Document 19 Filed 06/13/22 Page 7 of 7 PageID #: 791




                                CERTIFICATE OF SERVICE


       I hereby certify that, on June 13, 2022, I electronically filed the foregoing document

with the Clerk of the Court via CM/ECF. I certify that all participants in the case are registered

CM/ECF users and that service will be accomplished via CM/ECF.


                                                     /s/ Tori L. Remington
June 13, 2022                                        Tori L. Remington (No. 6901)
